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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                 HARRISONBUG DIVISION

  UNITED STATES OF AMERICA                             )
                                                       )
         v.                                            )         Docket No. 5:02-cr-30020
                                                       )
  KHARY JAMAL ANCRUM,                                  )
           Defendant.                                  )


                                 WITHDRAW OF COUNSEL

          The undersigned counsel formally withdraws as counsel for Mr. Ancrum. On May 7, 2020,
  this Court appointed the Federal Public Defender’s Office to represent Mr. Ancrum pursuant to
  Standing Order 2019-1. Upon information and believe Mr. Ancrum does not having a pending
  motion for relief under Section 404 of the First Step Act of 2018, but instead a motion under 28
  U.S.C. § 2255 alleging the ineffective assistance of the undersigned. The undersigned counsel has
  submitted an affidavit in connection with Mr. Ancrum’s petition agreeing that counsel was
  ineffective. In any event because of this pending motion the Federal Public Defender’s Office is
  conflicted out of any further representation of Mr. Ancrum at this time.


                                                       Respectfully submitted,



                                                       /s Lisa M. Lorish
                                                       Lisa M. Lorish (VSB No. 81465)
                                                       Assistant Federal Public Defender
                                                       Office of the Federal Public Defender
                                                       401 E. Market St, Ste 106
                                                       Charlottesville, VA 22902
                                                       Tel (434) 220-3380


                                   CERTIFICATE OF SERVICE

          I hereby certify that on May 15, 2020, I electronically filed the foregoing with the Clerk
  of Court using the CM/ECF system, which will send a notification of such filing (ECF) to all
  parties of record

                                                           /s Lisa M. Lorish
                                                           Lisa M. Lorish (VSB No. 81465)
                                                           Assistant Federal Public Defender
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